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1    QUIN DENVIR, Bar No. 49374
     Federal Defender
2    801 I Street, Third Floor
     Sacramento, California 95814
3    Telephone: (916) 498-5700
4    Attorney for Defendant
     Cary Eugene Ham
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7
8                       IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,     )          CR S-05-0401 WBS
                                   )
13                  Plaintiff,     )
                                   )
14        v.                       )          REQUEST FOR APPOINTMENT
                                   )          OF NEW COUNSEL AND [PROPOSED]
15   CARY EUGENE HAM,              )          ORDER
                                   )
16                  Defendant.     )
     ______________________________)
17
               Defendant Cary Ham hereby requests that the appointment of
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     the Office of the Federal Defender be terminated and that Quin
19
     Denvir be appointed as his counsel.       Mr. Denvir has been handling
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     the case since the Office was appointed by the Court.         He will be
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     retiring from the Office as of December 31, 2005.         Defendant would
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     like the appointment of the Office terminated and Mr. Denvir
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     appointed as his new counsel, effective January 1, 2006.
24
                                      Respectfully submitted,
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26
                                      /s/ Cary Ham
27   DATED: 12-17-05                  CARY EUGENE HAM
                                      Defendant
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              Case 2:05-cr-00401-WBS Document 28 Filed 12/30/05 Page 2 of 2


1
2    DATED:    December 27, 2005         /s/ Quin Denvir
                                         QUIN DENVIR
3
                                         Attorney for Cary Eugene Ham
4
5
           I concur.
6
7
     DATED:    December 27, 2005         /s/ Mary M. French
8                                        MARY M. FRENCH
                                         Supervising Assistant Federal Defender
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11
12         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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     DATED:    December 30, 2005
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     United States v. Ham
     05cr0401 WBS
     Req. Appt. New Counsel                  2
